   Case: 4:22-cr-00648-AGF-JMB Doc. #: 15 Filed: 11/22/22 Page: 1 of 5 PageID #: 23

                                 FEDERAL PUBLIC DEFENDER
                                      EASTERN DISTRICT OF MISSOURI

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                                            November 22, 2022


Mr. Kourtney Michael Bell, AUSA
United States Attorney's Office
Thomas F. Eagleton U.S. Courthouse
111 South 10th St., Room 20.222
St. Louis, Missouri 63102

       RE:       U.S.A. v. Joshua Lee
                 No. 4:22CR0648 AGF

Dear Mr. Bell:

        In accordance with Fed. R. Crim. P. 16 and 12, as well as the controlling case law concerning
discovery, the Court's local rules, and the Order signed by the Magistrate Judge, Defendant requests
pretrial disclosure of the following evidence and information:


       1.        Any and all written or recorded statements made by the Defendant.

       2.        Any and all written or recorded statements made by co-defendants and co-conspirators
                 (named and un-named).

       3.        Any portion of any written record containing the substance of any relevant oral statement
                 made by the Defendant, whether before or after arrest, in response to interrogation by any
                 person then known to the Defendant to be a government agent.

       4.        The substance of any oral statement made by the Defendant before or after his arrest in
                 response to interrogation by a then known-to-be government agent which the prosecution
                 intends to offer in evidence at trial.

       5.        Recorded grand jury testimony of any Defendant relating to the offenses charged.

       6.        A written summary of the testimony the government intends to use at trial under Rules
                 702, 703 or 705, Fed. R. Evid., including a description of the witnesses’ opinions, the
                 basis and reasons therefore, and the witnesses’ qualifications.

       7.        Description of and access to any books, papers, documents, photographs, tangible objects,
                 vehicles, buildings or places which are material to the preparation of the Defendant’s
   Case: 4:22-cr-00648-AGF-JMB Doc. #: 15 Filed: 11/22/22 Page: 2 of 5 PageID #: 24
Mr. Kourtney Michael Bell, AUSA                             November 22, 2022
RE: U.S.A. v. Joshua Lee

            defense or which the prosecution intends to use as evidence at trial, or were used,
            obtained, or belonging to the Defendant.

      8.    The results or reports of physical or mental examinations, and of scientific tests or
            experiments, made in connection with this case, which are material to the Defendant’s
            defense or are intended for use at trial.

     9.     Disclosure to the Defendant and permission to inspect and copy all information and
            material known to this prosecutor which may be favorable to the Defendant on the issues
            of guilt or punishment within the scope of Brady v. Maryland, 373 U.S. 83 (1963) and
            United States v. Agurs, 427 U.S. 97 (1976).

      10.   Disclosure to the Defendant of the existence and substance of any payments, promises of
            immunity, leniency, preferential treatment, or other inducements made to prospective
            prosecution witnesses, as well as any and all material evidence affecting the credibility of
            any witness whose reliability may be determinative of Defendant's guilt or innocence,
            within the scope of United States v. Giglio, 405 U.S. 150 (1972) and Napue v. Illinois,
            360 U.S. 264 (1959).

      11.   Disclosure to Defendant as to which of his co-defendants has entered into an agreement
            to plead guilty and who will be a cooperating witness in this case; the agreement that they
            made with the United States Attorney's office and the substance of what their testimony
            will be as it concerns the Defendant.

      12.   Provision to Defendant of the arrest and prior conviction records of Defendant, and any
            informant, cooperating individual, or witness who will testify for the Office of the United
            States Attorney at trial.

      13.   Provision to Defendant of notice of the nature and extent of consideration offered by the
            government or its agents, or sought by the government or its agents, on behalf of any
            informant herein in return for his or her cooperation and assistance, including:

            A.     The identity and existing statements of any confidential informant who may be
                   called upon to testify in this case;

            B.     Any and all representations, promises or other consideration offered by the
                   government, its cooperating agencies, or its agents to said informants concerning
                   alleged violations of said informants of federal, state, or local laws;

            C.     The precise nature of any monetary consideration offered or promised to said
                   informants including, but not limited to, a listing of funds paid to or on behalf of
                   said informants by the government, its agents, or cooperating agencies;

            D.     Any and all promises of assistance offered to said informants relating to the
                   disposition of known or potential criminal charges, state or federal, or the nature
                   and extent of incarceration or conditions thereof;
            E.     Any other promises, inducement or considerations offered to said informants in
                   exchange for their cooperation, assistance, information or testimony;
                                                  2
   Case: 4:22-cr-00648-AGF-JMB Doc. #: 15 Filed: 11/22/22 Page: 3 of 5 PageID #: 25
Mr. Kourtney Michael Bell, AUSA                                 November 22, 2022
RE: U.S.A. v. Joshua Lee


            F.     Any record maintained by the government showing the arrest and conviction
                   record of the confidential informant.

      14.   Disclosure to Defendant as to whether he was identified in any lineup, showup, photo
            spread or similar identification proceeding, and produce any pictures utilized or resulting
            therefrom.

      15.   To advise the case agents and the law enforcement officers to preserve their rough notes
            and to indicate to the defendant the existence of those rough notes.

      16.   To advise the Defendant, pursuant to Fed. R. Evid. 404(b), within ten days, of the
            prosecutor's intention to introduce such evidence and of the permitted purpose for which
            the evidence will be offered and the reasoning that supports that purpose.

      17.   To transcribe the grand jury testimony of all witnesses who will testify for the office of
            the United States Attorney at the trial of this cause, preparatory to a timely motion for
            discovery.

      18.   The prosecutor shall, if requested, deliver to any chemist selected by the defense, who is
            presently registered with the Attorney General in compliance with 21 U.S.C. §§822 &
            823, and 21 C.F.R. §1301.22(8), a sufficient representative sample of any alleged
            contraband which is the subject of this indictment, to allow independent chemical
            analysis of such sample.

      19.   Upon request the prosecutor shall permit the Defendant, his counsel and any experts
            selected by the defense to inspect any vehicle, vessel, or aircraft allegedly utilized in the
            commission of any offenses charged. The prosecutor shall, if necessary, assist defense
            counsel in arranging such inspection at a reasonable time and place, by advising the
            government authority having custody of the thing to be inspected that such inspection has
            been ordered by the Court.

      20.   The prosecutor shall provide the defendant, for independent expert examination, copies of
            all latent fingerprints or palm prints which have been identified by the prosecutor's expert
            as those of the Defendant.

      21.   The prosecutor shall provide the Defendant, for independent expert examination, copies
            of all handwriting exemplars which have been identified by the prosecutor's expert as
            those of the Defendant.

      22.   Disclose to the Defendant, for inspection, any and all things, objects, books, or records
            that were seized in this case in order for the Defendant to determine whether he has the
            standing to file a motion to suppress.

      23.   With regard to any hearsay statement or statement defined in Rule 801(d)(2)(C), (D), or
            (E) which the government intends to introduce at trial as to the declarant of that
            statement: Disclose to the Defendant all information regarding the declarant’s prior
            convictions and criminal records, any inconsistent statements made by the declarant, any
                                                  3
   Case: 4:22-cr-00648-AGF-JMB Doc. #: 15 Filed: 11/22/22 Page: 4 of 5 PageID #: 26
Mr. Kourtney Michael Bell, AUSA                              November 22, 2022
RE: U.S.A. v. Joshua Lee

            information regarding bias or motive on behalf of the declarant, any information as to the
            opinion of others with regard to the declarant and the declarant’s reputation.

      24.   Records of any devices used to record telephone numbers dialed from a particular phone,
            including pen registers, traps, and tracers; and any recordings obtained or intercepted via
            wiretap.

      25.   Copies of any still images, video, or audio or automated license plate reader scans
            collected, captured, or reviewed by the St. Louis Metropolitan Police Department’s
            RealTime Crime Center (RTCC) that monitored Joshua Lee [and any vehicle allegedly
            driven or occupied by Joshua Lee], or verification that such information was never
            viewed or collected.

      26.   Information, reports, memoranda, correspondence, records, or footage describing or
            memorializing any electronic surveillance of Joshua Lee, or Joshua Lee's vehicle, in any
            investigation related to their arrest in this case, or verification that such information was
            never viewed or collected. This request includes but is not limited to the following:

            A.     Any data, including metadata, resulting from use of an IMSI catcher, cell site
                   simulator, or similar cell phone monitoring or data-collection device by law
                   enforcement officials.

            B.     Any GPS tracking information or other digital or electronic location-related
                   information.

            C.     Any use of the RTCC by law enforcement officials.

            D.     Any privately obtained video, audio, or still footage that was also used or
                   observed by law enforcement officials. This includes, but is not limited to, footage
                   captured by surveillance systems, cell phones, or recording devices of any kind
                   whether operated, owned, or maintained by a private business or entity, private
                   citizen, or non-law enforcement government entity.
            E.     Any audio or visual recordings from devices inside the police vehicle, inside the
                   police station, or any other place in which Joshua Lee was detained. Any audio or
                   visual recordings from police body cameras.
            F.     Any recorded correspondence, including but not limited to, radio correspondence,
                   between officers, dispatch, or the RTCC.
            G.     Any recorded correspondence, including but not limited to, radio correspondence,
                   between officers, dispatch, or the RTCC.

      27.   Audio recording of any and all 911 or other emergency dispatch services' calls made in
            connection with this case.

      28.   If the discovery provided is Electronically Stored Information (ESI) such as .pdf
            documents, word processing documents, spreadsheets, graphs, data, or data compilations,
            DAD/CAM files, web sites, voice-mail, e-mail, text or instant messaging, photographs,

                                                  4
   Case: 4:22-cr-00648-AGF-JMB Doc. #: 15 Filed: 11/22/22 Page: 5 of 5 PageID #: 27
Mr. Kourtney Michael Bell, AUSA                             November 22, 2022
RE: U.S.A. v. Joshua Lee

               audio, video or any content in a digital form, please provide it pursuant to the following
               protocols:

               A.      Please label each item and identify it by case number.

               B.      Please provide an inventory of and index of what is stored.

               C.      Please organize ESI in the form that it is used in the usual course of business with
                       its logical unitization (e.g. a FBI 302 report, followed by its attachments and
                       related photographs) or in a reasonably usable or accessible form. Fed. R. Civ. P.
                       34(a) & (b)(B)(I).

               D.      If the government intends to provide discovery electronically, that currently exists
                       in hard copy, before delivery, the hard copy should be scanned into a
                       high-quality.pdf format (using Adobe .pdf software) with an optical character
                       recognition (OCR) overlay (using the U.S. Attorney’s Ipro software or other
                       comparable software) with Bates Numbers.

               E.      If the discovery is voluminous, please confer with counsel prior to providing ESI
                       discovery regarding the format in which it may be provided.

        I know that this list is extensive and I am sure that those items that are most important will be
provided as soon as possible and that we can agree on when all of the others should be provided. I
would, however, request that you produce "motion Jencks"--statements of any and all witnesses you
intend to call as witnesses at the motion hearing in this matter--within a reasonable time before the
motion hearing in order to avoid any possible recesses and delays in that hearing, pursuant to Fed. R.
Crim. P. 26.2(d).

       Thank you for your anticipated cooperation with these requests.

                                                      Sincerely,

                                                      Nanci H. McCarthy
                                                      Federal Public Defender

                                                       s/ Melissa K Goymerac
                                                      Melissa K Goymerac
                                                      Assistant Federal Public Defender




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